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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,
            Respondent,
                                                      No. 1:07-cr-213
-v-
                                                      HONORABLE PAUL L. MALONEY
LARRY HOOKS,
           Petitioner.


 ORDER GRANTING DEFENDANT HOOKS’ 42 U.S.C. § 2255 PETITION FOR WRIT OF
                        HABEAS CORPUS

       Petitioner Larry Hooks (Defendant), through his attorney, filed a petition for a writ of habeas

corpus under 42 U.S.C. § 2255.1 (Dkt. No. 289.) Defendant requests the court resentence him

because certain information was improperly included in his presentence investigation report (PSR)

and was used to enhance his sentence. Defendant pled guilty to the first count in a superceding

indictment, a PSR was prepared, and Defendant was sentenced. Included in the PSR were facts

relating to a prior conviction, which has since been dismissed due to improper conduct by an

investigating officer. The government does not oppose Defendant’s request for resentencing and

agrees Defendant should be resentenced based on an updated report that redacts or otherwise amends

the PSR to reflect the disposition and dismissal of the prior conviction. The dismissal of the prior

state conviction used to enhance a federal sentence is a sufficient reason to grant a § 2255 petition.

See Johnson v. United States, 544 U.S. 295, 302-303 (2005).


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         Defendant, on his own, also filed a “motion to reduce sentence.” (Dkt. No. 290.)
Defendant raises the same arguments as his attorney. Defendant asks to be resentenced, but
specifies that he should be resentenced at the lowest end of the guidelines. Because Defendant is
represented by counsel, the court will not consider Defendant’s pro per submission. The court
orders the Clerk to REJECT Defendant’s pro per motion (Dkt. No. 290) and return the
document to Larry T. Hooks. Defendant is not prejudiced as his filing is redundant.
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        Therefore, Defendant’s petition (Dkt. No. 289) is GRANTED and his sentence is

VACATED. A resentencing hearing has been scheduled for April 12, 2010 at 1:30 p.m. Counsel

for the government shall prepare the necessary paperwork to ensure Defendant’s presence at the

hearing. The Probation Office is ORDERED to prepare a modified presentence investigation

report, to be used by this court in sentencing, which reflects the appropriate disposition of

Defendant’s prior conviction and redacting or otherwise amending the PSR accordingly. IT IS SO

ORDERED.




Date:   March 1, 2010                                     /s/ Paul L. Maloney
                                                         Paul L. Maloney
                                                         Chief United States District Judge




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